
PER CURIAM.
The amount involved in this appeal exceeds the sum of two thousand dollars. Therefore since this court does not have jurisdiction and both appellant and appel-lees, on joint motion, have suggested that the matter he transferred to the Supreme Court of Louisiana, exercising the authority vested in this Court by the provisions of LSA-R.S. 13:4441, 13:4442:
It is now ordered, adjudged, and decreed that this appeal be transferred to the Supreme Court of Louisiana pursuant to law, which transfer is to be effected within sixty days and if such transfer should not be made within that time, then and in that event the appeal is to stand as though it had been dismissed. Plaintiff-appellant is to pay the costs of the appeal to this Court.
Appeal transferred to supreme court.
McBRIDE, J., takes no part.
